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DELBELLO DONNELLAN WEINGARTEN
WISE & WIEDERKEHR, LLP
Proposed Counsel for the Debtor
One North Lexington Avenue
White Plains, New York 10601
(914) 681-0200
Dawn Kirby, Esq.
Julie Cvek Curley, Esq

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
In re:
                                                                       Chapter 11
WILLIAM A. KNACK,                                                      Case No. 17-      (RDD)

                                           Debtor.
-------------------------------------------------------------------X

       AFFIDAVIT OF WILLIAM A. KNACK PURSUANT TO LOCAL RULE 1007-2

STATE OF NEW YORK                           )
                                            ) SS.:
COUNTY OF WESTCHESTER                       )

     WILLIAM A. KNACK, being duly sworn, depose and state:

     1.     I am the individual Chapter 11 debtor herein (the “Debtor”), and I submit this affidavit

pursuant to Rule 1007-2 of the Local Rules for the United States Bankruptcy Court for the Southern

District of New York.

                                               BACKGROUND

     2.     Over the past several years, I have been involved in a contested litigation, which after

trial, resulted in a judgment against me in the amount of $957,674.66. The cost of the litigation has

not only drained all of my personal finances, but the time involved in defending the lawsuit and

the adverse stigma associated with the lawsuit has compromised my ability to work and my

practice. I have not been able to treat as many patients as I once used to because of the time

required to defend the lawsuit, and the pendency of the lawsuit has caused me to lose my position
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as Department Chair at SUNY Old Westbury, where I have now been demoted to faculty.

    3.        My desire is to utilize the bankruptcy process in order to prosecute an appeal of the

adverse judgment, as well as reorganize my financial affairs.

    4.        The needs and interests of my creditors will best be served by my continued possession

of my property and management of my affairs as a debtor-in-possession under Chapter 11 until

confirmation of a reorganization plan.

              INFORMATION REQUIRED BY LOCAL BANKRUTPCY RULE 1007

         5.       In addition to the foregoing, Local Bankruptcy Rule 1007-2 requires certain

information related to the Debtor, which is set forth below.

Local Rule 1007-2(a)(1)

         6.       I currently reside at 115 Bedford Road, Chappaqua, New York 10514. I am

employed by SUNY Old Westbury as a faculty professor. In addition, I have my own practice as

a psychologist.

Local Rule 1007-2(a)(2)

         7.       This case was not originally commenced under Chapter 7 or 13 of title 11 of the

United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).

Local Rule 1007-2(a)(3)

         8.       Upon information and belief, no committee was organized prior to the order for

relief in this Chapter 11 case.

Local Rule 1007-2(a)(4)

         9.       A list of the names and addresses of the Debtor’s 20 largest unsecured claims,

excluding those who would not be entitled to vote at a creditors' meeting and creditors who are

"insiders" as that term is defined in 11 U.S.C. Section 101(31) is annexed hereto as Schedule I.
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Local Rule 1007-2(a)(5)

         10.    A list of the names and addresses of the five largest secured creditors is annexed

hereto as Schedule II.

Local Rule 1007-2(a)(6)

           11. A summary of the Debtor’s assets and liabilities is annexed as Schedule III.

Local Rule 1007-2(a)(7)

         12.    There are no publicly held securities of the Debtor.

Local Rule 1007-2(a)(8)

         13.    None of the Debtor’s property is in the possession of any custodian, public officer,

mortgagee, pledge, assignee of rents, or secured creditor, or any agent for such entity.

Local Rule 1007-3(a)(9)

         14.    A schedule of properties owned and/or leased by the Debtor is included in

Schedule III.

Local Rule 1007-2(a)(10)

         15.    The Debtor’s assets are located at 115 Bedford Road, Chappaqua, New York

10514.

         16.    The Debtor’s books and records are located at 115 Bedford Road, Chappaqua,

New York 10514.

Local Rule 1007-2(a)(11)

         17.    The following actions or proceedings are pending against the Debtor:

                Noelle Feldman v. William Knack, Supreme Court of the State of New York,
                Westchester County, Index No. 69747/2014

Local Rule 1007-2(a)(12)

         18.    As the Debtor is an individual, he has no management.
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Local Rule 1007-2(b)(1) and (2)

       19.     As the Debtor is an individual, he has no payroll.

Local Rule 1007-2(b)(3)

       20.     The estimated schedule of cash receipts and disbursements for the thirty (30) day

period following the filing of the Chapter 11 petition, net cash gain or loss, obligations and

receivables expected to accrue but remaining unpaid, other than professional fees is annexed as

Schedule IV.



                                                      /s/ William A. Knack
                                                      WILLIAM A. KNACK
Sworn to before me this
10th day of July, 2017


/s/ Julie Cvek Curley
Notary Public
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                                   SCHEDULE I


               TWENTY (20) LARGEST UNSECURED CREDITORS

See Annexed.
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 Fill in this information to identify your case:

 Debtor 1                     William A. Knack
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                 amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                Unsecured claim
 1                                                                   What is the nature of the claim?              Judgment                     $ $957,674.66
              Noelle Feldman
              co Bleakley Platt & SchmidtLLP                         As of the date you file, the claim is: Check all that apply
              1 North Lexington Avenue                                       Contingent
              White Plains, NY 10601                                         Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                 $ $957,674.66
                                                                                    Value of security:                               - $ $0.00
              Contact phone                                                         Unsecured claim                                    $ $957,674.66


 2                                                                   What is the nature of the claim?              Legal Fees                   $ $83,705.40
              McCarthy Fingar, LLP
              11 Martine Avenue                                      As of the date you file, the claim is: Check all that apply
              White Plains, NY 10606                                         Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 1

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 Debtor 1          William A. Knack                                                                 Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 3                                                                   What is the nature of the claim?              115 Bedford Road              $ $40,154.00
                                                                                                                   Chappaqua, NY 10514
                                                                                                                   Westchester County
                                                                                                                   Valuation based on
                                                                                                                   Broker Opinion Letter
                                                                                                                   dated 6/29/2017
            Us Bank Home Mortgage
            4801 Frederica St                                        As of the date you file, the claim is: Check all that apply
            Owensboro, KY 42301                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $565,154.00
                                                                                    Value of security:                               - $ $525,000.00
            Contact phone                                                           Unsecured claim                                    $ $40,154.00


 4                                                                   What is the nature of the claim?              2015 Volvo V60CC              $ $13,907.09
                                                                                                                   20000 miles
                                                                                                                   Automobile Lease
                                                                                                                   (Used by Debtor)
            Volvo Car Financial Sv
            1 Volvo Dr                                               As of the date you file, the claim is: Check all that apply
            Rockleigh, NJ 07647                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $32,766.09
                                                                                    Value of security:                               - $ $18,859.00
            Contact phone                                                           Unsecured claim                                    $ $13,907.09


 5                                                                   What is the nature of the claim?              2015 Honda CRV                $ $5,587.52
                                                                                                                   20000 miles
                                                                                                                   Automobile Lease
                                                                                                                   (Used by Debtor's
                                                                                                                   daughter)
            American Honda Finance
            600 Kelly Way                                            As of the date you file, the claim is: Check all that apply
            Holyoke, MA 01040                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $23,223.52


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 2

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 Debtor 1          William A. Knack                                                                 Case number (if known)



                                                                                    Value of security:                               - $ $17,636.00
            Contact phone                                                           Unsecured claim                                    $ $5,587.52


 6                                                                   What is the nature of the claim?              Credit Card                  $ $1,036.00
            Bk Of Amer
            Po Box 982238                                            As of the date you file, the claim is: Check all that apply
            El Paso, TX 79998                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Credit Card                  $ $218.00
            Nordstrom Fsb
            13531 E Caley Ave                                        As of the date you file, the claim is: Check all that apply
            Englewood, CO 80111                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Credit Card                  $ $159.00
            Citi-shell
            Po Box 6497                                              As of the date you file, the claim is: Check all that apply
            Sioux Falls, SD 57117                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Credit Card                  $ $113.00
            Sears/cbna
            Po Box 6282                                              As of the date you file, the claim is: Check all that apply
            Sioux Falls, SD 57117                                            Contingent
                                                                             Unliquidated
                                                                             Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 3

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 Debtor 1          William A. Knack                                                                 Case number (if known)

                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?                                           $ $0.00



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 4

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 Debtor 1          William A. Knack                                                                 Case number (if known)

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 5

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 Debtor 1          William A. Knack                                                                 Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 17                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?                                           $ $0.00

                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply




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 Debtor 1          William A. Knack                                                                 Case number (if known)

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $
                                                                                   Value of security:                                -$
            Contact phone                                                          Unsecured claim                                    $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ William A. Knack                                                             X
       William A. Knack                                                                     Signature of Debtor 2
       Signature of Debtor 1


       Date      July 10, 2017                                                              Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                       Page 7

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                                    SCHEDULE II

                     FIVE (5) LARGEST SECURED CREDITORS


Name                                          Estimated Amount
Noelle Feldman                                $957,674.66
co Bleakley Platt & SchmidtLLP
1 North Lexington Avenue
White Plains NY 10601-0000
Us Bank Home Mortgage                         $565,154.00
4801 Frederica St
Owensboro KY 42301-0000
Volvocarlse                                   $33,227.78
Volvo Car Financial Services
Mobile AL 36691-0000
Volvo Car Financial Sv                        $32,766.09
1 Volvo Dr
Rockleigh NJ 07647-0000
American Honda Finance                        $23,223.52
600 Kelly Way
Holyoke MA 01040-0000
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                                     SCHEDULE III

               SUMMARY OF ESTIMATED ASSETS AND LIABILITIES

ASSETS                                                   Value of Debtor’s Interest


115 Bedford Road, Chappaqua, NY                          $525,000.00
2015 Volvo V60 (Leased)                                  $18,859.00
2015 Volvo V60 (Leased)                                  $18,859.00
2015 Honda CRV (Leased)                                  $17,636.00
Miscellaneous Household Furnishings, Clothes & Jewelry   $5,000.00
Miscellaneous Wearing apparel                            $500.00
Miscellaneous electronics                                $
Jewelry                                                  $300.00
Cash on hand                                             $100.00
Citibank Account ending in 6171                          $991.56
Citibank Account ending in 2226                          $151.83
Sole Proprietorship (Dr. William A. Knack)               $0.00
SEI Investment Account ending in 4228                    $
Guardian Variable Annuity Account ending in 7768         $126.483.80
NYS Teachers Retirement Pension                          $0.00
NYS Teachers Retirement Death Benefits                   $0.00
Term Life Insurance Policy                               $0.00
TOTAL ASSETS                                             $

LIABILITIES:
Secured Debt                                             $1,612,046.05
Unsecured Non-Priority Debt                              $85,231.40
TOTAL LIABILITIES                                        $1,697,277.45
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                                      SCHEDULE IV

                    PROJECTED 30 DAY INCOME AND EXPENSES

Household Income:

Net Household Wages                         $15,406.50
Business Income                             $0
Total Income:                               $15,406.50

Household Expenses:

Mortgage                                    $3,081.42
Real Estate Taxes                           $1,175.00
Homeowners Insurance                        $200.00
Home Maintenance                            $1,583.00
Utilites                                    $1,084.41
Food and housekeeping supplies              $2,600.00
Clothing, laundry, dry cleaning             $1,375.00
Personal care products and services         $700.00
Medical/Dental                              $600.00
Transportation                              $675.00
Recreation                                  $300.00
Health Insurance                            $200.00
Auto Insurance                              $340.00
Car Payments                                $1,199.00
Pet                                         $150.00
Total Expenses:                             $15,262.83

Net Income:                                 $143.67
